            Case 6:15-cv-00028 Document 1 Filed in TXSD on 05/05/15 Page 1 of 7



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   VICTORIA DIVISION

MIRAMAR PETROLEiTM,INC.                                   §

           Plaints                                        §

v.                                                        § CIVIL ACTION NO.

THE FIRST LIBERTY INSURANCE                               §
CORPORATION and COMMERCE                                  §
& INDUSTRY INSURANCE                                      §
COMPANY                                                   §

           Defendants                                    §


         DEFENDANT COMMERCE &INDUSTRY INSURANCE COMPANY'S
                        NOTICE OF REMOVAL


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

           COMES NOW,Commerce &Industry Insurance Company (hereinafter "CIIC" or

"Defendant"), Defendant in the above-styled cause appearing by and through the

assistance of the undersigned counsel of record, and without waiving any of its rights or

defenses, hereby gives notice of removal of this case from the 135th Judicial District

Court of Jackson County, Texas to the United States District Court for the Southern

District of Texas, Victoria Division. In support thereof, Defendant respectfully shows

the Honorable Court as follows:

                                                  I.
                                             INTRODUCTION

1.1        Plaintiff, Miramar Petroleum, Inc. (hereinafter "Plaintiff' or "Miramar")filed its

state court action against Defendant in Jackson County, Texas on March 31, 2015.1 The


7   See Plaintiffs Original Petition, a copy of which is attached as Exhibit C-i.
        Case 6:15-cv-00028 Document 1 Filed in TXSD on 05/05/15 Page 2 of 7



case was docketed as Cause No. 15-3-14868; Miramar Petroleum, Inc. v. The First

Liberty Insurance Corporation and Commerce &Industry Insurance Company, and

assigned to the 135th Judicial District Court.2 The State Court Action is a declaratory

judgment lawsuit seeking a determination of the defendants' duties to defend and

indemnify Miramar from counterclaims asserted in an underlying lawsuit filed in the

26 th Judicial District Court of Jackson County, Texas. Miramar does not specifically

identify the underlying lawsuit by cause number, but based on Miramar's description,

Defendant believes the underlying lawsuit to be Cause No. 13-6-14449 in the 267th

Judicial District Court of Jackson County, Texas, styled Miramar Petroleum, Inc. v.

Nicklos Drilling Co., et al. (the "Underlying Lawsuit"). Plaintiff seeks damages for

alleged breach of an insurance contract, for Defendant's alleged violations of the Texas

Insurance Code, and for declaratoryjudgment.

1.2     Defendant was served with Plaintiff's Original Petition on April ~, 2oi5.

Accordingly, Defendant is timely ding its Notice of Removal within thirty days after

service and receipt of the Original Petition in accordance with 28 U.S.C. § i446(b). The

one-year deadline under 28 U.S.C. § 1446(c) has not elapsed.

i.3     Plaintiff made no jury demand in its Original Petition.

                                                II.
                                           THE PARTIES

2.i     Plaintiff has alleged that it is a Texas corporation with its principal place of

business in Corpus Christi, Texas.3

2.2     Defendant CIIC is a corporation incorporated under the laws of the State of New

York, having its principal place of business now and at the time this action was


2 Id. From this point forward, Defendant refers to this matter as the "State Court Action."
3 Id. at 2.
        Case 6:15-cv-00028 Document 1 Filed in TXSD on 05/05/15 Page 3 of 7



commenced in New York, New York. As a result, CIIC is a citizen of New York.4

Plaintifffailed to allege CIIC's State of citizenship.

2.3      Defendant The First Liberty Insurance Corporation ("First Liberty") is a

corporation incorporated under the laws of the State of Illinois, having its principal

place of business now and at the time this action was commenced in Boston,

Massachusetts. As a result, First Liberty is a citizen of Illinois and Massachusetts.

Plaintiff failed to allege First Liberty's State of citizenship.

                                              III.
                                      BASIS FOR REMOVAL

A.      Removal Standard -Diversity

3.1     2H U.S.C. § i332(a) confers original jurisdiction over any civil matter which is

between citizens of different states and involves an amount in controversy which

exceeds $75,000, exclusive of interest and costs. Any civil action brought in a state

court of which the district courts of the United States have original jurisdiction may be

removed by the defendant to a district court of the United States for the district and

division where the state action is pending. See 28 U.S.C.§ i441(a).

3.2     With regard to determining whether or not diversity jurisdiction is present,

citizenship is determined at the time the state court suit was filed. See Smith v.

Sperling, 354 U•S• 91~ 93 ~1957)~ Harris v. Black Clawson Co., 961 F.2d 547 549 (5th

Cir.lgg2).

3.3     Diversity jurisdiction depends upon a showing of complete diversity, which

means that none of the plaintiffs may be a citizen of the same state as one of the

defendants. See Whalen v. Carter, 954 F.2d 108, 1974 5th Cir. 1992); Nelson v. St.

4 Pursuant to 28 U.S.C. § i332(c),"a corporation shall be deemed to be a citizen of any State by which it
has been incorporated and of the State where it has its principal place of business." 28 U.S.C. § 1gg2(c)(i);
see also Mullins u. TestAmerica,Inc.,564 F.3d 386,397 n.6(5th Cir. 2009).


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            Case 6:15-cv-00028 Document 1 Filed in TXSD on 05/05/15 Page 4 of 7



Paul Fire &Marine Ins. Co., 897 F. Supp. 328 330 (S.D. Tex. 1995)• Plaintiff asserts it

is a citizen of Texas. CIIC is now and at the time this action was commenced a citizen of

New York. First Liberty is now and at the time this action was commenced a citizen of

Massachusetts and Illinois. As a result, there is complete diversity among the parties

and removal is appropriate on the basis of diversity jurisdiction.

B.          Amount in Controversy Exceeds $75,000

3.4         The amount in controversy requirement is satisfied because the value of the

object of the litigation —insurance benefits —exceeds the jurisdictional amount,

$75,000. The instant action is an insurance coverage action seeking, among other

things, a determination of First Liberty's duties to defend and indemnify Miramar

against counterclaims asserted against Plaintiff in the Underlying Lawsuit. Plaintiffs

Original Petition alleges First Liberty insured Plaintiff under a commercial general

liability policy issued to Nicklos Drilling Company. Plaintiffs petition also alleges that

the counterclaims against Plaintiff are likely to exceed First Liberty's policy, and

therefore, Plaintiff includes CIIC, which issued an umbrella policy to Nicklos, in the

instant lawsuit. Miramar's petition seeks insurance coverage in the Underlying Lawsuit

on behalf of Miramar.

3.5         Plaintiffs Original Petition states that "Plaintiff seeks monetary relief in an

amount greater than $i,000,000.00."5 Therefore, removal is proper here because the

amount in controversy exceeds $75,000, excluding interest and costs. 28 U.S.C. §

1332(a).




5   Pl.'s Orig. Pet. at 1, ¶ g.



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        Case 6:15-cv-00028 Document 1 Filed in TXSD on 05/05/15 Page 5 of 7



                                           IV.
                                  JURISDICTION &VENUE

4.1     The Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1332

as there is complete diversity of citizenship and the amount in controversy exceeds

$75,000, exclusive ofinterest and costs.

4.2     Venue is appropriate in the Southern District of Texas, Division of Victoria under

28 U.S.C. § i441(a) because this district and division encompasses Jackson County

where the State Court Action is pending.

                                           V.
                                  REQUIRED DOCUMENTS

5.i     Pursuant to 28 U.S.C. i446(a) and Rule 8i of the Local Rules of the Southern

District of Texas, Defendant attaches hereto copies of all pleadings, process, orders, and

other dings in the State Court Action as well as the State Court Action's docket sheet.6

The pleadings, process, orders, other dings, and docket sheet from the State Court

Action are identified in the Index of Matters Being Filed with Removal which appears as

Exhibit A.

5.2     Pursuant to Rule 81(6) of the Local Rules of the Southern District of Texas,

Defendant attaches hereto a List of All Counsel of Record.

                                         VI.
                             CONSENT OF ALL DEFENDANTS

6.i     Defendant First Liberty has consented to, and joins in, the removal of this action

from the Jackson County, Texas District Court to the United States District Court for the

Southern District of Texas, Victoria Division.$



6 See attached Exhibits B & C.
~ See attached Exhibit D.
$See Defendant First Liberty's Joinder In and Consent to Removal attached as Exhibit E.


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      Case 6:15-cv-00028 Document 1 Filed in TXSD on 05/05/15 Page 6 of 7



                                        VII.
                                  REQUIRED NOTICE

~.i    Pursuant to 28 U.S.C. § 1446(d), Defendant will promptly provide notice to all

adverse parties and will ale a copy of this Notice of Removal with the Jackson County

District Clerk's Office.

                                         VIII.
                                      CONCLUSION

       WHEREFORE, because there is complete diversity between the parties to this

suit, and because the amount in controversy exceeds $75,000, Defendant hereby

removes all further proceedings in this action to the United States District Court for the

Southern District of Texas, Victoria Division, and respectfully requests that this Court

assume full jurisdiction in this action as provided by law. Defendant asks for all further

relief to which it may show itself entitled in law or in equity.



       Respectfully submitted,this the 5th day of May,2015,

                                           BROWN SIMS,P.C.


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                                           COUNSEL FOR DEFENDANT
                                           COMMERCE &INDUSTRY INSURANCE
                                           COMPANY
      Case 6:15-cv-00028 Document 1 Filed in TXSD on 05/05/15 Page 7 of 7




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                             CERTIFICATE OF SERVICE

       This will certify that a true and correct copy of the foregoing pleading has been
sent via U.S. certified mail, return receipt requested, and facsimile to the following
counsel of record on this the Stn day of May,2oi5:

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                                               /s/ James D. Johnson
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